         Case 1:10-cr-00324-JRH-BKE Document 140 Filed 06/08/16 Page 1 of 3




                   IN THE UNITED STATES DISTRICT COURT FOR THE
                             SOUTHERN DISTRICT OF GEORGIA
                                      AUGUSTA DIVISION


UNITED STATES OF AMERICA
                                              •


       v.                                     *                     l:10-CR-324-2
                                              *


SHANTAY M.         THOMAS                     *




                                       ORDER




       On March 1,          2011,    Shantay M. Thomas               ("Thomas")        pled guilty

to   conspiracy        and    aggravated          identify      theft.           (Doc.    70.)      On

June     17,   2011,    this    Court       sentenced Thomas               to   seventy-six       (76)

months imprisonment.                (Doc.   85.)         Thomas recently filed a letter

in which she requests that the Court reduce her sentence.                                        (Doc.

138 at      1.)     In her letter,          Thomas explains that she has become a

better      person     and    now    has     "an      education,       morals,         and   goals."

(Id. )         The    letter    includes          a     list   of    courses      she     has    taken

during       her    imprisonment       and        indicates         that    Thomas       earned    her

GED.        (Id.   at 2.)      Additionally,            Thomas describes her desire to

care for her four daughters.                      (Id. at 1.)         She explains that her

parents,       who have       custody of the children,                      are now unable to

care for them.          (Id.)

         Before reaching the merits of Thomas's request,                                 this Court

must     first      determine       whether        it    has   the     power      to     reduce    her

sentence.          The general rule is that "[a]                     district court may not
         Case 1:10-cr-00324-JRH-BKE Document 140 Filed 06/08/16 Page 2 of 3




modify a term of imprisonment once it has been imposed,                                             except

where expressly permitted by Federal Rule of Criminal Procedure

35 or by 18 U.S.C.              § 3582,         and a district court lacks                     'inherent

power'     to    resentence          a    defendant."           United     States        v.    Barsena-

Brito,     374    F.     App'x       951,       951    (11th Cir.      2010)        (citing United

States     v.     Diaz-Clark,            292    F.3d    1310,       1315   (11th        Cir.       2002)).

Therefore,        this       Court       must    analyze      whether      either        Rule       35     or

18 U.S.C.       § 3582 are applicable to the facts of this case.

        Under Rule        35(a),         a district court may "correct a                       sentence

that     resulted        from        arithmetical,            technical,         or     other           clear

error" within fourteen days                      after sentencing.              Fed.     R. Crim.          P.

35(a).      The        Court    sentenced         Thomas      on    June     17,      2011,        and    she

filed the present motions on August                           14,    2015.         This time frame

clearly     falls        outside         the     fourteen-day         window,         and      therefore

this Court does not have the power to review the sentence under

Rule     35(a).         Under    Rule       35(b),      the    government          may move          for    a

reduction         of     a     defendant's             sentence       based        on      substantial

assistance provided by the defendant.                               Fed.   R.      Crim.      P.    35(b).

However, no such motion has been filed by the government in this

case.



        The only additional authorization for a district court to

modify a sentence is upon:                      (1) a motion by the Bureau of Prisons

based on extraordinary circumstances                            or in cases involving an

elderly         prisoner;        or       (2)     a     retroactive          amendment             to     the
         Case 1:10-cr-00324-JRH-BKE Document 140 Filed 06/08/16 Page 3 of 3




guidelines       that     lowers    the sentencing          range     of the        defendant.

18 U.S.C.        § 3582(c).         These    requirements         are not     satisfied in

the   present      action.         The    Bureau    of    Prisons     has     not    moved     to

reduce    Thomas's        term     of     imprisonment       based     on     extraordinary

circumstances or age.               Moreover,      there is no applicable change

in the sentencing guidelines that has reduced Thomas's guideline

range.      As    such,    the     Court    does    not     have    the    power     under     18

U.S.C.    § 3582(c)     to review Thomas's sentence.

  For    these    reasons,        the    Court    thus DENIES       Thomas's       request     to

reduce her sentence.              (Doc.   138.)

        ORDER ENTERED        at    Augusta,       Georgia    this      Q       day    of   June

2016.




                                                                            IDAL    HALL
                                                              STATES      DISTRICT     JUDGE
                                                            SRN    DISTRICT    OF GEORGIA
